       Case 18-10926-amc                       Doc 101          Filed 04/02/25 Entered 04/02/25 08:58:08                        Desc Main
     Fill in this information to identify the case:            Document Page 1 of 4
 Debtor 1                  LORRIE-ANN D THORNE


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          18-10926-AMC




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  CARRINGTON MORTGAGE SERVICES LLC                                          1

 Last 4 digits of any number you use to identify the debtor's account                         7   3   1   8

 Property Address:                              6717 HAVERFORD AVENUE
                                                PHILADELPHIA, PA 19151




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $      32,946.79

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $      32,946.79

 c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):                   (c)   $            -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c) and (d)              $            -0-
        paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $            -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $            -0-

 g. Total. Add lines b, d, and f.                                                                                     (g)   $      32,946.79



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     LORRIE-ANN D THORNE                                               Case number (if known) 18-10926-AMC
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within
 21 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full
 the amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees,
 costs, and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all
 postpetition payments as of the date of the response. Failure to file and serve the statement may subject the creditor to
 further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date     04/02/2025


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     LORRIE-ANN D THORNE                                         Case number (if known) 18-10926-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                  Creditor Type                  Date       Check # Posting Description                 Amount
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             12/14/2018 1060049 Disbursement To Creditor/Principal 1,453.26
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             01/18/2019 1100343 Disbursement To Creditor/Principal   704.18
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/15/2019 1101833 Disbursement To Creditor/Principal   631.96
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/15/2019 1103147 Disbursement To Creditor/Principal   628.34
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             04/18/2019 1104623 Disbursement To Creditor/Principal   628.34
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             05/23/2019 1106247 Disbursement To Creditor/Principal   624.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             06/21/2019 11507815Disbursement To Creditor/Principal   612.02
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             07/19/2019 11509187Disbursement To Creditor/Principal   612.02
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             09/23/2019 11512080Disbursement To Creditor/Principal 1,227.57
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             10/22/2019 17191417Disbursement To Creditor/Principal   624.43
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             11/19/2019 17192947Disbursement To Creditor/Principal   624.43
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             01/24/2020 17196396Disbursement To Creditor/Principal   624.43
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/21/2020 17196774Disbursement To Creditor/Principal   624.43
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/20/2020 17198470Disbursement To Creditor/Principal   312.22
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             04/17/2020 17200093Disbursement To Creditor/Principal   312.22
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             07/17/2020 17204376Disbursement To Creditor/Principal    72.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             08/21/2020 17205728Disbursement To Creditor/Principal   629.61
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             09/29/2020 17207193Disbursement To Creditor/Principal   578.61
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             10/23/2020 17208665Disbursement To Creditor/Principal   234.43
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             11/20/2020 17209869Disbursement To Creditor/Principal   181.73
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             12/21/2020 17211046Disbursement To Creditor/Principal   416.16
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             01/22/2021 17212325Disbursement To Creditor/Principal   597.90
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/23/2021 17213626Disbursement To Creditor/Principal   468.87
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/19/2021 17214904Disbursement To Creditor/Principal   363.46
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             04/23/2021 17216018Disbursement To Creditor/Principal   468.87
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             05/25/2021 17217172Disbursement To Creditor/Principal   357.60
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             06/25/2021 17218241Disbursement To Creditor/Principal   402.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             07/23/2021 17219342Disbursement To Creditor/Principal   402.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             08/20/2021 17220362Disbursement To Creditor/Principal   226.87
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             09/24/2021 17221348Disbursement To Creditor/Principal   578.61
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             10/22/2021 17222400Disbursement To Creditor/Principal   406.65
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             11/19/2021 17223322Disbursement To Creditor/Principal   231.91
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             12/17/2021 17224272Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             01/21/2022 17225226Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/18/2022 17226211Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/18/2022 17227169Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             04/22/2022 17228169Disbursement To Creditor/Principal   591.47
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             05/17/2022 17229160Disbursement To Creditor/Principal   231.91
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             06/27/2022 17230009Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             07/22/2022 17231020Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             08/19/2022 17231963Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             10/21/2022 17233892Disbursement To Creditor/Principal   548.32
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             11/18/2022 17234861Disbursement To Creditor/Principal   411.69
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             12/16/2022 17235781Disbursement To Creditor/Principal   231.91
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             01/20/2023 17236731Disbursement To Creditor/Principal   591.47
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/17/2023 17237670Disbursement To Creditor/Principal   231.91
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/17/2023 17238555Disbursement To Creditor/Principal   179.78
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             04/21/2023 17239474Disbursement To Creditor/Principal   409.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             05/19/2023 17240382Disbursement To Creditor/Principal   636.61
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             06/16/2023 17241237Disbursement To Creditor/Principal   425.00
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             07/21/2023 17242062Disbursement To Creditor/Principal   407.21
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             08/18/2023 17242950Disbursement To Creditor/Principal   231.17
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             09/22/2023 17243773Disbursement To Creditor/Principal   408.99
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             10/20/2023 17244596Disbursement To Creditor/Principal   666.54
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             11/17/2023 17245417Disbursement To Creditor/Principal   738.65
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             12/15/2023 17246188Disbursement To Creditor/Principal   402.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/16/2024 17247829Disbursement To Creditor/Principal   402.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/15/2024 17248625Disbursement To Creditor/Principal   175.87
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             04/19/2024 17249468Disbursement To Creditor/Principal 1,208.22
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             06/21/2024 17251120Disbursement To Creditor/Principal   402.74
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             07/19/2024 17251894Disbursement To Creditor/Principal   226.87
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             08/16/2024 17252686Disbursement To Creditor/Principal   175.87
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             09/20/2024 17253454Disbursement To Creditor/Principal   226.87


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Debtor 1     LORRIE-ANN D THORNE                                         Case number (if known) 18-10926-AMC
             Name




History Of Payments
Part 2 - B
Claim ID Name                  Creditor Type                  Date       Check # Posting Description                  Amount
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             10/15/2024 17254223Disbursement To Creditor/Principal    228.63
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             11/15/2024 17254957Disbursement To Creditor/Principal    177.82
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             12/20/2024 17255724Disbursement To Creditor/Principal    636.61
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             01/17/2025 17256511Disbursement To Creditor/Principal    407.21
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             02/21/2025 17257230Disbursement To Creditor/Principal    508.57
1        CARRINGTON MORTGAGE SERVICES
                               Pre-Petition
                                       LLCArrears             03/21/2025 17258079Disbursement To Creditor/Principal 1,077.79
                                                                                      Total for Part 2 - B:         32,946.79




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